                        Case 1:22-mj-00195-RMM Document 1 Filed 08/24/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                               for the
                                                                     District of &ROXPELD

                   United States of America                                       )
                              v.                                                  )    Case: 1:22−mj−00195
                Jonathan Joseph Copeland
                                                                                  )    Assigned To : Magistrate Judge Meriweather, Robin M.
                                                                                  )    Assign. Date : 8/24/2022
                    DOB: XXXXXX                                                   )    Description: Complaint w/ Arrest Warrant
                                                                                  )
                                                                                  )
                             Defendant(s)


                                                         CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                           January 6, 2021                      in the county of                                         in the
                            LQWKH'LVWULFWRI           &ROXPELD , the defendant(s) violated:

              Code Section                                                                       Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury
        18 U.S.C. § 231(a)(3)- Civil Disorder
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building


          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                                    Complainant’s signature

                                                                                                          Elizabeth Tran, Special Agent
                                                                                                                     Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                                   2022.08.24
Date:              08/24/2022
                                                                                                                                   14:36:10 -04'00'
                                                                                                                       Judge’s signature

City and state:                          :DVKLQJWRQ'&                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                     Printed name and title
